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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 HUEY-LI LI,                                         CASE NO. 5:21 CV-02277



                Plaintiff,                           JUDGE SARA LIOI

                                                     (JURY TRIAL DEMAND ENDORSED
                                                     HEREON)
        vs.
                                                     ANSWER OF
                                                     THE UNIVERSITY OF AKRON
 UNIVERSITY OF AKRON



                Defendant.



       NOW COMES Defendant, The University of Akron, (“Defendant”) by and through

counsel, to answer the Complaint filed against it by Huey-li Li (“Plaintiff”). Defendant states for

its Answer as follows:

   1. As to paragraph 1 of Plaintiff’s Complaint, Defendant admits Plaintiff purports to reside in

       the State of Ohio. Further answering, Defendant denies the remainder of the allegations

       for lack of knowledge or information sufficient to form a belief as to the veracity thereof.

   2. As to paragraph 2 of Plaintiff’s Complaint, Defendant admits the allegations.

   3. As to paragraph 3 of Plaintiff’s Complaint, Defendant admits it employed Plaintiff for a

       time period from on or about Fall 1995, to on or about August 21, 2020. Defendant avers

       its Board of Trustees passed a resolution on July 15, 2020, that eliminated the position held

       by Plaintiff. Further answering, Defendant admits Plaintiff had tenured status at the time

       her position was eliminated by Defendant.         Defendant denies the remainder of the

       allegations.

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4. As to paragraph 4 of Plaintiff’s Complaint, Defendant denies the allegations.

5. As to paragraph 5 of Plaintiff’s Complaint, Defendant denies the allegations.

6. As to paragraph 6 of Plaintiff’s Complaint, Defendant admits Plaintiff filed a charge of

   discrimination against Defendant on or about October 23, 2020 that included claims of

   discrimination based on race and/or national origin. Further answering, Defendant denies

   the remainder of the allegations for lack of knowledge or information sufficient to form a

   belief as to the veracity thereof.

7. As to paragraph 7 of Plaintiff’s Complaint, Defendant denies the allegations for lack of

   knowledge or information sufficient to form a belief as to the veracity thereof.

8. As to paragraph 8 of Plaintiff’s Complaint, Defendant admits Plaintiff taught courses in its

   School of Education prior to Defendant’s Board of Trustees passing a resolution on July

   15, 2020 that eliminated the position held by Plaintiff. Further answering, Defendant

   admits that there are courses taught prior to implementation of the July 15, 2020 campus-

   wide reduction-in-force (“RIF”) that were taught after the RIF and as of December 3, 2021.

   Further answering, Defendant denies the remainder of the allegations.

9. As to paragraph 9 of Plaintiff’s Complaint, Defendant admits it offered Plaintiff available

   part-time teaching opportunities pursuant to Defendant’s contractual obligations with the

   exclusive representative of the bargaining unit for faculty, Akron-AAUP.            Further

   answering, Defendant paid Plaintiff the compensation authorized for the part-time teaching

   opportunities she accepted to teach after Defendant implemented its July 15, 2020 campus-

   wide reduction-in-force.     Further answering, Defendant denies the remainder of the

   allegations.




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                                 COUNT I
              NATIONAL ORIGIN AND/OR RACE DISCRIMINATION
                          42 U.S.C. § 2000e, et seq.

10. As to paragraph 10 of Plaintiff’s Complaint, Defendant reasserts and reincorporates herein

   each answer contained in paragraph 1 through 9 as if fully rewritten herein.

11. As to paragraph 11 of Plaintiff’s Complaint, Defendant denies the allegation as it calls for

   a legal conclusion.

12. As to paragraph 12 of Plaintiff’s Complaint, Defendant denies the allegation as it calls for

   a legal conclusion.

13. As to paragraph 13 of Plaintiff’s Complaint, Defendant denies the allegations.

14. As to paragraph 14 of Plaintiff’s Complaint, Defendant denies the allegations.

15. Defendant denies all allegations in Plaintiff’s Complaint not specifically addressed in the

   foregoing paragraphs 1 through 14.

16. Defendant avers the stated items in the prayer for relief of Plaintiff’s Complaint should be

   denied in their entirety.

                         AFFIRMATIVE AND OTHER DEFENSES

17. Plaintiff’s Complaint fails, in whole or in part, to state claims upon which relief can be

   granted.

18. Plaintiff’s Complaint fails based on the principle of Arbitration and Award.

19. Defendant is entitled to sovereign immunity and full/absolute and qualified immunities and

   privileges available under federal law.

20. Defendant is entitled to all immunities, privileges, and other defenses available under Ohio

   Revised Code Chapter 2743 and/or state common law.




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21. Defendant had a legitimate, non-discriminatory, non-retaliatory reason for all its actions

   and/or there is insufficient evidence of pretext for national origin or race (or any other

   alleged) discrimination and/or retaliation.

22. Defendants established policies, programs, and procedures for the prevention and detection

   of unlawful discrimination and retaliation and complied with such policies, programs, and

   procedures.

23. Defendant did not engage in intentional discrimination or retaliation and cannot be liable

   for punitive damages.

24. If the Court concludes that any of Defendant’s actions or decisions were motivated, in part,

   by a discriminatory or retaliatory motive, then Defendant would have taken the same action

   in the absence of any unlawful motive.

25. To the extent Plaintiff claims to have engaged in protected conduct, which Defendant

   expressly denies, Plaintiff did so in an unreasonable manner and thereby forfeited any

   protection afforded under the law.

26. Some or all of Plaintiff’s claims are barred by the applicable statute of limitations and/or

   the doctrines of estoppel, accord and satisfaction, collateral estoppel, waiver, consent,

   laches, and res judicata.

27. None of Defendant’s actions were malicious or made with reckless indifference, and

   punitive damages are also not otherwise warranted under Ohio Revised Code § 2315.21,

   42 U.S.C. § 1981a, or any other federal or state statutory or common law.

28. Plaintiff’s claim fails as a matter of law should there be a failure to provide evidence of

   compliance with all conditions precedent and/or other prerequisites to filing the federal

   discrimination claim(s).

29. Plaintiff failed to exhaust all available administrative remedies.

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30. Plaintiff was not treated differently than similarly situated, non-protected employees.

31. Plaintiff is not entitled to all or part of the relief sought.

32. Plaintiff’s claims and/or remedies are barred, in whole or in part, by the Doctrine of After-

    Acquired Evidence.

33. Plaintiff’s claims are barred because Defendant had, at all relevant times herein, acted in

    good faith and did not violate any rights which may be secured to Plaintiff under any federal

    or state laws, rules, regulations, or guidelines.

34. Plaintiff’s claims are barred for failure to mitigate damages and other relief claimed, or, in

    the alternative, the damages and other relief are barred or limited to the extent Plaintiff

    failed to mitigate same.

35. Plaintiff’s Complaint is barred, in whole or in part, because Defendant exercised reasonable

    care to prevent and/or correct promptly any discriminatory or retaliatory conduct.

36. To the extent Plaintiff seeks equitable relief, that request is barred based on other adequate

    remedies at law.

37. Plaintiff’s claims may be limited or barred, in whole or in part, by any statutory or common

    law defenses or limitations on damages, including setoff, collateral source, contribution,

    and/or indemnity.

38. Plaintiff’s request for attorney’s fees and costs may be limited or barred, in whole or in

    part, by the limitations on attorney fee awards under 42 U.S.C. § 1988, Rule 54 of the

    Federal Rules of Civil Procedure, and Ohio law.

39. Defendant reserves the right to raise additional defenses as discovery proceeds.

    WHEREFORE, having fully answered, Defendants pray that this Court dismiss Plaintiff’s

Complaint in its entirety, with prejudice, with costs, and reasonable attorneys’ fees, taxed to

Plaintiff, and such other relief as may be appropriate and as ordered by this Court.

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                                     Respectfully Submitted,

                                     ZASHIN & RICH Co., L.P.A.

                                     /s/ Sarah J. Moore

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                                  JURY DEMAND

Defendant demands a trial by jury on all issues.

                                     /s/ Sarah J. Moore
                                     Sarah J. Moore, Esq.




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                                 CERTIFICATE OF SERVICE


       The undersigned hereby certifies that on January 13, 2022 the foregoing document was

served via the Court’s electronic filing system.



                                              /s/ Sarah J. Moore
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